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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

 NEONODE SMARTPHONE LLC,

                PLAINTIFF,
                                                         Civil Action No. 6:20-cv-00507
 v.

 SAMSUNG ELECTRONICS CO., LTD
 And SAMSUNG ELECTRONICS
 AMERICA, INC.,

                DEFENDANTS.


        JOINT MOTION TO STAY ALL DEADLINES AND NOTICE OF SETTLEMENT

        Plaintiff Neonode Smartphone LLC (“Neonode”) and Defendants Samsung Electronics

Co., Ltd. (“SEC”) and Samsung Electronics America, Inc.’s (“SEA’s”) (collectively, “Samsung”

or “Defendants”) jointly file this Motion to Stay All Deadlines and Notice of Settlement and

respectfully move this Court to stay all deadlines in the Court’s Docket Control Order for thirty

(30) days.

        Neonode and Samsung have reached a settlement in principle of the subject matter of this

case, and the parties respectfully request that the Court stay all deadlines for thirty (30) days so

that the settlement agreement can be finalized and appropriate dismissal papers submitted.

 Dated: June 13, 2025                               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 13th day of June 2025, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send notification of such filing via

electronic mail to all counsel of record. Any other counsel of record will be served by first class

U.S. mail.


                                                      /s/ John M. Guaragna
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